Case 3:07-cr-00387-M         Document 314        Filed 01/04/16      Page 1 of 2      PageID 1173




                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA,                         '
                                                  '
v.                                                '           3:07-CR-0387-M(02)
                                                  '
HERNAN ANDREAS RIVERA-PEREZ,                      '
         Defendant.                               '

               RECOMMENDATION REGARDING MOTION TO PROCEED
                       IN FORMA PAUPERIS ON APPEAL

        Before the Court is Defendant’s motion to proceed in forma pauperis on appeal filed

December 22, 2015.       Doc. 309.   Defendant appeals from the October 29, 2015 order denying

his motion to reduce sentence under the 2014 Drug Guidelines Amendment.          Doc. 304.    Upon

consideration, it is recommended that the Court deny the motion to proceed in forma pauperis on

appeal and certify, pursuant to FED. R. APP. P. 24(a) and 28 U.S.C. ' 1915(a)(3), that the appeal is

not taken in good faith.

        It was well within the Court’s discretion to grant or deny a motion for reduction based on

the 2014 Drug Guidelines Amendment.         The Court exercised its discretion to deny the reduction

in this instance.   A further review of the record reflects that on October 16, 2015, only two weeks

before entry of the order denying a reduction under the 2014 Drug Guidelines Amendment, the

Court granted a substantial reduction based on the government’s motion for a reduction of

sentence.   Based on the above, the undersigned recommends that the appeal presents no legal

points of arguable merit and is therefore frivolous.

        Although this appeal should be certified as not taken in good faith under 28 U.S.C. '

1915(a)(3) and FED. R. APP. P. 24(a)(3), the defendant may challenge this finding by filing a

separate motion to proceed in forma pauperis on appeal with the Clerk of Court, U.S. Court of
Case 3:07-cr-00387-M        Document 314        Filed 01/04/16      Page 2 of 2      PageID 1174



Appeals for the Fifth Circuit, within 30 days of the District Court’s order adopting this

recommendation.

       SIGNED January 4, 2016.
